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United States District Court
Eastern District of Michigan
Northern Division

United States of America,

Plaintiff,
Hon. Thomas L. Ludington
Vv.
Case No. 22-CR 20303
Timothy Heath Findlay,
Defendant.

 

Plea Agreement

The United States of America and the defendant, Timothy
Findlay, have reached a plea agreement under Federal Rule of Criminal
Procedure 11. The plea agreement’s terms are:

1. Count of Conviction

The defendant will plead guilty to Count 1 of the indictment.
Count 1 charges the defendant with Threatening to Kill the President
under 18 U.S.C. § 871.

2. Statutory Maximum Penalties

The defendant understands that the count to which he is pleading

guilty carries the following maximum statutory penalties:

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Count 1 Term of imprisonment: Up to 5 years
Fine: Up to $250,000
Term of supervised release: | Up to 3 years

 

 

 

 

 

3. Agreement Not to Bring Additional Charges

If the Court accepts this agreement and imposes sentence
consistent with its terms, the United States Attorney’s Office for the
Eastern District of Michigan will not bring additional charges against
the defendant for the conduct reflected in the Rule 11 Plea Agreement
factual basis.

4, Elements of Count of Conviction

The elements of Count 1 are: 1) defendant made a true threat to
take the life of or inflict bodily harm upon the President of the United
States; and 2) defendant did so knowingly and willfully.

5. Factual Basis

The parties agree that the following facts are true, accurately
describe the defendant’s role in the offense, and provide a sufficient

factual basis for the defendant’s guilty plea:

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On or about April 28, 2022, Timothy Findlay was an inmate in the
Arenac County Jail the in Northern Division of the Eastern District of
Michigan. On that day, Findlay knowingly and willfully made a true
threat to take the life of and inflict bodily harm upon the President of
the United States by way ofa letter. In the letter, Findlay wrote to
President Joe Biden that when he gets out of custody, he and others
“are going to bomb the White House and kill everyone with cyanide.
Rape your wife kidnap Governor Gretchen Whitmer tie her up and
leave her on Lake Michigan. Then kill everyone with cyanide.” Findlay
put this letter in an envelope, addressed it 1600 Pennsylvania Avenue,
White House,” and deposited it in the location where inmates deposit
letters they want mailed by the U.S. Post Office.

6. Advice of Rights

The defendant has read the indictment, has discussed the charge
and possible defenses with his attorney, and understands the crime
charged. The defendant understands that, by pleading guilty, he is
waiving many important rights, including the following:

A. The right to plead not guilty and to persist in that plea;

B. The right to a speedy and public trial by jury;

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C. The right to be represented by counsel—and, if necessary,
have the court appoint counsel—at trial;

D. The right to be presumed innocent and to require the
government to prove the defendant guilty beyond a reasonable
doubt at trial;

EK. The right to confront and cross-examine adverse witnesses
at trial;

F. The right to testify or not to testify at trial, whichever the
defendant chooses;

G.  I=fthe defendant chooses not to testify at trial, the right to
have the jury informed that it may not treat that choice as
evidence of guilt;

H. The right to present evidence or not to present evidence at
trial, whichever the defendant chooses; and

I. The right to compel the attendance of witnesses at trial.

7. Collateral Consequences of Conviction

The defendant understands that his conviction here may carry
additional consequences under federal or state law. The defendant

understands that, if he is not a United States citizen, his conviction

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here may require him to be removed from the United States, denied
citizenship, and denied admission to the United States in the future.
The defendant further understands that the additional consequences of
his conviction here may include, but are not limited to, adverse effects
on the defendant’s immigration status, naturalized citizenship, right to
vote, right to carry a firearm, right to serve on a jury, and ability to hold
certain licenses or to be employed in certain fields. The defendant
understands that no onc, including the defendant’s attorncy or the
Court, can predict to a certainty what the additional consequences of
the defendant’s conviction might be. The defendant nevertheless affirms
that the defendant chooses to plead guilty regardless of any
immigration or other consequences from his conviction.

8. Defendant’s Guideline Range
A. Court’s Determination

The Court will determine the defendant’s guideline range at
sentencing.

B. Acceptance of Responsibility

The government recommends under Federal Rule of Criminal

Procedure 11(c)(1)(B) that the defendant receive a two-level reduction

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for acceptance of responsibility under USSG § 3E1.1(a). Further, if the
defendant’s offense level is 16 or greater and the defendant is awarded
the two-level reduction under USSG § 38E1.1(a), the government
recommends that the defendant receive an additional one-level
reduction for acceptance of responsibility under USSG § 3E1.1(b). If,
however, the government learns that the defendant has engaged in any
conduct inconsistent with acceptance of responsibility—including, but
not limited to, making any false statement to, or withholding
information from, his probation officer; obstructing justice in any way;
denying his guilt on the offense to which he is pleading guilty;
committing additional crimes after pleading guilty; or otherwise
demonstrating a lack of acceptance of responsibility as defined in USSG
§ 3E1.1—the government will be released from its obligations under
this paragraph, will be free to argue that the defendant not receive any
reduction for acceptance of responsibility under USSG § 3E1.1, and will
be free to argue that the defendant receive an enhancement for

obstruction of justice under USSG § 3C1.1.

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C. Other Guideline Recommendations

The parties also recommend under Federal Rule of Criminal
Procedure 11(c)(1)(B) that the following guideline provision does not
apply to the defendant’s guideline calculation: § 2A6.1(b)(2).

D. = Parties’ Obligations

Both the defendant and the government agree not to take any
position or make any statement that is inconsistent with any of the
guideline recommendations or factual stipulations in paragraphs 8.B or
8.C. Neither party is otherwise restricted in what it may argue or
present to the Court as to the defendant’s guideline calculation.

EK. Nota Basis to Withdraw

The defendant understands that he will have no right to withdraw
from this agreement or withdraw his guilty plea if he disagrees, in any
way, with the guideline range determined by the Court, even if that
guideline range does not incorporate the parties’ recommendations or
factual stipulations in paragraphs 8.B or 8.C. The government likewise
has no right to withdraw from this agreement if it disagrees with the

cuideline range determined by the Court.

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9. Imposition of Sentence
A. Court’s Obligation

The defendant understands that in determining his sentence, the
Court must calculate the applicable guideline range at sentencing and
must consider that range, any possible departures under the sentencing
cuidelines, and the sentencing factors listed in 18 U.S.C. § 35538(a), and
apply any applicable mandatory minimums.

B. Imprisonment

1. Recommendation
Under Federal Rule of Criminal Procedure 11(c)(1)(B), the
sovernment recommends that the defendant’s sentence of imprisonment
not exceed the bottom of the defendant’s guideline range as determined
by the Court.
2. No Right to Withdraw
The government's recommendation in paragraph 9.B.1 is not
binding on the Court. The defendant understands that he will have no
right to withdraw from this agreement or withdraw his guilty plea if the
Court decides not to follow the government’s recommendation. The

government likewise has no right to withdraw from this agreement if

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the Court decides not to follow the government’s recommendation. If
however, the Court rejects or purports to reject any other term or terms
of this plea agreement, the government will be permitted to withdraw
from the agreement.

C. Supervised Release
1. Recommendation

Under Federal Rule of Criminal Procedure 11(c)(1)(B), the parties
recommend that the Court impose a 2-year term of supervised release.

2. No Right to Withdraw

The parties’ recommendation is not binding on the Court. The
defendant understands that he will have no right to withdraw from this
agreement or withdraw his guilty plea if the Court decides not to follow
the parties’ reeommendation. The defendant also understands that the
government’s recommendation concerning the length of the defendant’s
sentence of imprisonment, as described above in paragraph 9.B.1, will
not apply to or limit any term of imprisonment that results from any

later revocation of the defendant’s supervised release.

D. Fines

There is no recommendation or agreement as to a fine.

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E. Restitution

The Court must order restitution to every identifiable victim of
the defendant’s offense. There is no recommendation or agreement on
restitution. The Court will determine at sentencing who the victims are
and the amounts of restitution they are owed.

The defendant agrees that restitution is due and payable
immediately after the judgment is entered and is subject to immediate
enforcement, in full, by the United States. 18 U.S.C. §§ 3612(c) and
3613. If the Court imposes a schedule of payments, the defendant
agrees that the schedule of payments is a schedule of the minimum
payment due, and that the payment schedule does not prohibit or limit
the methods by which the United States may immediately enforce the
judgment in full.

The defendant agrees to make a full presentence disclosure of his
financial status to the United States Attorney’s Office by completing a
Financial Disclosure Form and the accompanying releases for the
purpose of determining his ability to pay restitution. The defendant
agrees to complete and return the Financial Disclosure Form within

three weeks of receiving it from government counsel. The defendant

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agrees to participate in a presentencing debtor’s examination if
requested to do so by government counsel.

F. Special Assessment

The defendant understands that he will be required to pay a
special assessment of $100, due immediately upon sentencing.

10. Appeal Waiver

The defendant waives any right he may have to appeal his
conviction on any grounds. If the defendant’s sentence of imprisonment
does not exceed the top of the guideline range determined by the Court,
the defendant also waives any right he may have to appeal his sentence
on any grounds.

11. Collateral Review Waiver

The defendant retains the right to raise claims alleging ineffective
assistance of counsel or prosecutorial misconduct, as long as the
defendant properly raises those claims by collateral review under 28
U.S.C. § 2255. The defendant also retains the right to pursue any relief
permitted under 18 U.S.C. § 3582(c), as long as the defendant properly
files a motion under that section. The defendant, however, waives any

other right he may have to challenge his conviction or sentence by

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collateral review, including, but not limited to, any right he may have to
challenge his conviction or sentence on any grounds under 28 U.S.C.

§ 2255 (except for properly raised ineffective assistance of counsel or
prosecutorial misconduct claims, as described above), 28 U.S.C. § 2241,
or Federal Rule of Civil Procedure 59 or 60.

12. Consequences of Withdrawal of Guilty Plea or Vacation of
Judgment

If the defendant is allowed to withdraw his guilty plea, or if the
defendant’s conviction or sentence under this agreement is vacated, the
government may reinstate any charges against the defendant that were
dismissed as part of this agreement and may file additional charges
against the defendant relating, directly or indirectly, to any of the
conduct underlying the defendant’s guilty plea or any relevant conduct.
If the government reinstates any charges or files any additional charges
as permitted by this paragraph, the defendant waives his right to
challenge those charges on the ground that they were not filed ina
timely manner, including any claim that they were filed after the

limitations period expired.

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13. Use of Withdrawn Guilty Plea

The defendant agrees that if he is permitted to withdraw his
guilty plea for any reason, he waives all of his rights under Federal
Rule of Evidence 410, and the government may use his guilty plea, any
statement that the defendant made at his guilty plea hearing, and the
factual basis set forth in this agreement, against the defendant in any
proceeding.

14. Parties to Plea Agreement

This agreement does not bind any government agency except the
United States Attorney’s Office for the Eastern District of Michigan.

15. Scope of Plea Agreement

This plea agreement is the complete agreement between the
parties and supersedes any other promises, representations,
understandings, or agreements between the parties concerning the
subject matter of this agreement that were made at any time before the
guilty plea is entered in court. Thus, no oral or written promises made
by the government to the defendant or to the attorney for the defendant
at any time before the defendant pleads guilty are binding except to the

extent they have been explicitly incorporated into this plea agreement.

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If the parties have entered, or subsequently enter, into a written proffer
or cooperation agreement, though, this plea agreement does not
supersede or abrogate the terms of that agreement. This plea
agreement also does not prevent any civil or administrative actions
against the defendant, or any forfeiture claim against any property, by
the United States or any other party.

16. Acceptance of Agreement by Defendant

This plea offer expires unless it has been received, fully signed, in
the United States Attorney’s Office by 5:00pm on January 31, 2023. The
government may withdraw from this agreement at any time before the
defendant pleads guilty.

Dawn N. Ison
United States Attorney

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Anthony Vayee Roy Kréuz— eae
Chief, Br Offices Assistant United State
Assistant ted States Attorney

Attorney

Dated: 1/30/2023
By signing below, the defendant and his attorney agree that the

defendant has read or been read this entire document, has discussed it

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with his attorney, and has had a full and complete opportunity to confer
with his attorney. The defendant further agrees that he understands
this entire document, agrees to its terms, has had all of his questions

answered by his attorney, and is satisfied with his attorney’s advice and

 

 

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— r Defendant Defendant
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